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 4
 5   Attorney for Defendants
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10                                               *****
11   UNITED STATES OF AMERICA,                    )      Case No. CR-11-0378 SKO
                                                  )
12                         Plaintiff,             )
                                                  )
13   vs.                                          )      STIPULATION AND
                                                  )      ORDER TO SET MATTER ON
14                                                )      CALENDAR FOR CHANGE OF PLEA
     JAMES BOARDMAN and                           )      ON JANUARY 19, 2012 AT 9:00 A.M.
15                                                )
                                                  )      Court Room: 8
16                         Defendant.             )      Honorable Barbara A. McAuliffe
17
     UNITED STATES OF AMERICA,                    )      Case No. CR-11-0377 SKO
18                                                )
                           Plaintiff,             )
19                                                )
     vs.                                          )      STIPULATION AND
20                                                )      ORDER TO SET MATTER ON
                                                  )      CALENDAR FOR CHANGE OF PLEA
21   STEVEN BOARDMAN                              )      ON JANUARY 19, 2012 AT 9:00 A.M.
                                                  )
22                                                )      Court Room: 8
                           Defendant.             )      Honorable Barbara A. McAuliffe
23
24          Defendants Steve Boardman and James Boardman, by and through their attorney, W.
25   Scott Quinlan, and the United States of America, by and through its attorneys, Benjamin B.
26   Wagner, United States Attorney, and Yashar Nilchian, Special Assistant United States Attorney,
27   hereby stipulate to set the above-captioned matters for a change of plea on January 19, 2012 at
28   9:00 a.m in Court Room 8 of the above-captioned Court.
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 1            THERE IS GOOD CAUSE for this stipulation in that the parties have previously cleared
 2   this date with the Court and their respective calendars.
 3
 4   Dated:     January 13, 2012                             /s/ W. Scott Quinlan
                                                           W. Scott Quinlan, Attorney for
 5                                                         Defendant, JAMES BOARDMAN
 6
 7   Dated:     January 13, 2012                             /s/ W. Scott Quinlan
                                                           W. Scott Quinlan, Attorney for
 8                                                         Defendant, STEVEN BOARDMAN
 9
10
     Dated:    January 13, 2012                             /s/ Yashar Nilchian
11                                                         Yashar Nilchian, Special Assistant
                                                           United States Attorney
12
                                                  ORDER
13
              Having read and considered the foregoing stipulation, IT IS THE ORDER of this Court
14
     that the above-captioned matters shall be set for a change of plea on January 19, 2012 at 9:00 a.m
15
     in Court Room 8 of the above-captioned court.
16
17
           IT IS SO ORDERED.
18
      Dated:      January 17, 2012                         /s/ Barbara A. McAuliffe
19   10c20k                                            UNITED STATES MAGISTRATE JUDGE
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